            Case 1:21-cr-00386-TNM Document 158 Filed 08/08/22 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :       CRIMINAL NO. 21-cr-386 (TNM)
                v.                            :
                                              :
PAULINE BAUER,                                :
                                              :
                       Defendant.             :


      GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION TO COMPEL
      DISCLOSURE OF PLEA BARGAINS, PREFERENTIAL TREATMENT, AND
                 PROMISES TO GOVERNMENT WITNESSES

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this response to Defendant Pauline Bauer’s Motion

To Compel Disclosure of Plea Bargains, Preferential Treatment, And Promises To Government

Witnesses (the “Motion”) (ECF No. 143). In the Motion, Defendant seeks the production of Giglio

material.

       The Court has not yet set a scheduling order regarding identification of witnesses, and the

Government continues to evaluate what witnesses it will call. As a result, it is premature to require

the Government to produce Giglio information. Lastly, the Government’s Giglio obligations arise

under the Constitution, so no Court order is required.

       The Government is willing to agree to a scheduling order that sets forth deadlines for

identification of witnesses and allows for a reasonable time period after that deadline to produce

Giglio material. The Motion’s request for immediate production should be denied.
 Case 1:21-cr-00386-TNM Document 158 Filed 08/08/22 Page 2 of 3




                               CONCLUSION

The Motion should be denied.



                                 Respectfully submitted,

                                 MATTHEW M. GRAVES
                                 United States Attorney
                                 D.C. Bar No. 481052

                                 By:    /s/ James D. Peterson
                                 JAMES D. PETERSON
                                 Bar No. VA 35373
                                 United States Department of Justice
                                 1331 F Street N.W. 6th Floor
                                 Washington, D.C. 20530
                                 Desk: (202) 353-0796
                                 James.d.peterson@usdoj.gov

                                 s/ Joseph McFarlane
                                 PA Bar No. 311698
                                 United States Department of Justice
                                 1400 New York Ave NW
                                 Washington, D.C. 20005
                                 Desk: (202) 514-6220
                                 Mobile: (202) 368-6049
                                 joseph.mcfarlane@usdoj.gov




                                    2
         Case 1:21-cr-00386-TNM Document 158 Filed 08/08/22 Page 3 of 3




                                  CERTIFICATE OF SERVICE

       I certify that a copy of the Government’s Response was served on all counsel of record

via the Court’s electronic filing service.



                                              /s/ Joseph McFarlane_________
                                             JOSEPH MCFARLANE
                                             Trial Attorney


Date: August 8, 2022




                                               3
